      Case 1:24-cv-00312-SE-TSM             Document 39       Filed 02/02/25       Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE




 Open Democracy, et al,
                         Plaintiff,


         v.                                           No. 1:24-cv-00291

 Formella, et al,


                         Defendant.

 REPUBLICAN NATIONAL COMMITTEE’S AND NEW HAMPSHIRE REPUBLICAN
             STATE COMMITTEE’S MOTION TO INTERVENE

        1.       The proposed intervenors, Republican National Committee and New Hampshire

Republican State Committee (the “Parties”) are political committees providing national and

statewide leadership for the Republican Party.

        2.       This lawsuit challenges a recent New Hampshire amendment to its election

laws. The Parties propose to intervene for the purpose of defending the constitutionality of that

amendment.

        3.       Rule 24 provides for intervention as of right and permissive intervention. See Fed.

R. Civ. P. 24(a) and (b). Under Rule 24(a), “the court must permit anyone to intervene who”

files a timely motion and claims an interest relating to the subject of the action, which interest

may be affected by the disposition of the action, unless existing parties adequately represent

that interest.

        4.       The Parties’ motion is timely. No parties will be prejudiced by the granting of

the Parties’ motion to intervene at this time.


                                                  1
        Case 1:24-cv-00312-SE-TSM          Document 39         Filed 02/02/25      Page 2 of 3




         5.    The Parties have a vital interest in New Hampshire’s election regulation in

general and a particular interest in the enforcement of laws protecting the integrity of

elections in which they field and support candidates and in which the Parties’ members

vote.

         6.    The defendants are the state officers charged with regulating elections – the

secretary of state and attorney general. As such, the Parties’ interests are distinct from theirs.

Therefore, the defendant cannot adequately represent the Parties’ interests in this litigation.

         7.    For the foregoing reasons and for the reasons set forth in the accompanying

memorandum of law, the Court should grant this motion to intervene as a matter of right.

         8.    In the alternative, the Parties move for permissive intervention. Under Rule 24(b),

a Court may permit any party to intervene who submits a timely motion and who “has a claim or

defense that shares with the main action a common question of law or fact.” Id.

         9.    As described in ¶ 4, supra, the instant motion is timely.

         10.   The Parties have a claim that common questions of law with the main action.

To wit: the Parties are political committees that will be affected by the implementation of the

challenged statute. As active participants in the electoral process in New Hampshire, as well

as nationally, the Parties are uniquely positioned to assist the Court in their evaluation of the

asserted burdens in this case. That perspective necessarily differs from that of the defendant.

         11.   Pursuant to Fed. R. Civ. P. 24(c), the proposed intervenor joins the motion to

dismiss filed by the defendants that is now pending before this Court.

         12.   Pursuant to LR 7.1(a)(2), the proposed intervenor hereby submits a memorandum

of law in support of this motion.

         13.   Counsel for the state defendants, Michael P. DeGrandis, takes no position on the


                                                  2
     Case 1:24-cv-00312-SE-TSM             Document 39         Filed 02/02/25     Page 3 of 3




relief sought by this motion.

       14.     Counsel for the Plaintiff, Henry Klementowicz, reserves the Plaintiffs’ right to

objection to the relief sought by this motion.

       WHEREFORE, the Republican National Committee and New Hampshire Republican

State Committee respectfully request that this Court:

       A.      Grant its motion to intervene as a matter of right;

       B.      Or, in the alternative, grant its motion to intervene permissively; and

       C.      Grant such other relief as the Court deems just and appropriate.


                                                        Respectfully Submitted,

                                                        Republican National Committee, and New
                                                        Hampshire Republican State Committee,

                                                        By their attorneys,

                                                        Lehmann Major List, PLLC


                                                        /s/Richard J. Lehmann
                       February 2, 2025                 _________________________________
                                                        Richard J. Lehmann (Bar No. 9339)
                                                        6 Garvins Falls Road
                                                        Concord, N.H. 03301
                                                        (603) 731-5435
                                                        rick@nhlawyer.com


                                       CERTIFICATION

        I hereby certify that a copy of this pleading was this day forwarded to all counsel of record
via the court's electronic service system.

                                                        /s/Richard J. Lehmann
                       February 2, 2025                 _____________________________
                                                        Richard J. Lehmann




                                                 3
